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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

       v.                                        Case No. 1:21-cr-00582
MICHAEL A. SUSSMANN,

              Defendant.


     [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS

      UPON CONSIDERATION of Defendant’s Motion to Dismiss, it is hereby ORDERED

that Defendant’s Motion to Dismiss is GRANTED.



IT IS SO ORDERED.

______________________, 2022

                                                 _________________________________
                                                 Hon. Christopher R. Cooper
                                                 United States District Judge
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